

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,752




					


EX PARTE JOSE JUAN VARELA, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. CR-3003-10-J IN THE 430TH DISTRICT COURT


FROM HIDALGO COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of murder and
sentenced to forty-five years' imprisonment. 

	Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal. The trial court has determined that counsel failed to timely file a notice
of appeal. 

	We find that Applicant is entitled to the opportunity to file an out-of-time appeal of the
judgment of conviction in Cause No. CR-3003-10-J from the 430th Judicial District Court of Hidalgo
County. Applicant is ordered returned to that time at which he may give a written notice of appeal
so that he may then, with the aid of counsel, obtain a meaningful appeal. Within ten days of the
issuance of this opinion, the trial court shall determine whether Applicant is indigent. If Applicant
is indigent and wishes to be represented by counsel, the trial court shall immediately appoint an
attorney to represent Applicant on direct appeal. All time limits shall be calculated as if the sentence
had been imposed on the date on which the mandate of this Court issues. We hold that, should
Applicant desire to prosecute an appeal, he must take affirmative steps to file a written notice of
appeal in the trial court within 30 days after the mandate of this Court issues.


Delivered: March 21, 2012

Do Not Publish


